Case 14-12683 Doc 71 Filed 10/19/19 Entered 10/19/19 08:45:19 Main Document Page 1 of 1

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF: CASE NO. 14-12683

WADE YBARZABAL
SECTION A

DEBTOR (S) CHAPTER 7

MOTION AND NOTICE OF TRUSTEE’S INTENT TO
DISCLAIM AND ABANDON PROPERTY

 

 

NOTICE IS HEREBY GIVEN to the creditors and interested parties of the Trustee's
INTENT to DISCLAIM AND ABANDON the following asset(s) :

 

Succession interest in (a) Lots 2, 4, and 6 Sq. 19, Penrose Subdivision, New
Orleans, la.; (b) 7801 Mayo Blvd., New Orleans, La.; (c) 25% interest in succession of
debtor’s mother.

NOTE: These items are listed within the debtor's bankruptcy petition - reference is
Assets 1 and 20.

YOU ARE FURTHER NOTIFIED that a hearing on this matter is scheduled

for:
Date and Time: November 27, 2019 @ 2:00 p. m.
Judge: Honorable MEREDITH S. GRABILL
Location: Courtroom A - 709

United States Bankruptcy Court
500 Poydras St.
New Orleans, Louisiana 70130

NOTICE IS FURTHER GIVEN that, in accordance with Local Rule 9013-1(B) (d), any
response or objection to the Motion must be filed in writing with the Clerk of Court
seven (7) days prior to the noticed hearing and a copy served upon the Trustee.

All court activity in this case is available both on (1) the internet at https://ecf.laeb.uscourts.gov or
(2) at the Clerk’s Office, 500 Poydras Street, Suite 601-B, New Orleans, La. 70130. The Clerk’s phone number is (504)
589-7878.

Mailed from Mandeville, La. this October 18, 2019.

/s/ michael chiasson, TRUSTEE

Michael Chiasson, TRUSTEE
P. 0. Box 1666

Mandeville, La. 70470
(985) 674-9848
